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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
ADAMS, et al.


                                   Plaintiff(s),
                                                                 MEDIATION
                                                               CERTIFICATION

                                                                  22 - cv - ______
                                                                ______      6144
                              v.

CITY OF ROCHESTER, et al.


                                Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
✔ Mediation session was held on ______________.
                                    11/17/22

    ✔ Case has settled. (Comment if necessary).
        Case has settled in part. (Comment below). Mediation will continue on________.

        Case has settled in part. (Comment below). Mediation is complete.

        Case has not settled. Mediation will continue on ________________________.

        Case has not settled. Mediation is complete. The case will proceed toward trial
       pursuant to the Court's scheduling order.


Date: ______________
      11/17/2022                               Mediator: /S/ __________________________
                                                             Steven V. Modica

Additional Comments:
Counsel will work together on a more detailed settlement agrement. One plaintiff is a
________________________________________________________________________
minor and, thus, court approval will be sought for that part of the setlement. Lawsuit may
________________________________________________________________________
continue against one defendant, however, a final decision has not been made yet.
________________________________________________________________________

     Print             Clear Form
